USCA4 Appeal: 24-6080      Doc: 10         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-6080


        UNITED STATES OF AMERICA,

                            Plaintiff - Appellee,

                     v.

        ABETUBOKUN A. ADESIOYE,

                            Defendant - Appellant.



        Appeal from the United States District Court for the District of Maryland, at Greenbelt.
        Peter J. Messitte, Senior District Judge. (8:00-cr-00605-PJM-1; 8:22-cv-00204-PJM)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Dismissed by unpublished per curiam opinion.


        Abetubokun A. Adesioye, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-6080         Doc: 10       Filed: 08/26/2024      Pg: 2 of 2




        PER CURIAM:

               Abetubokun A. Adesioye seeks to appeal the district court’s order denying relief on

        his 28 U.S.C. § 2255 motion. The order is not appealable unless a circuit justice or judge

        issues a certificate of appealability. See 28 U.S.C. § 2253(c)(1)(B). A certificate of

        appealability will not issue absent “a substantial showing of the denial of a constitutional

        right.” 28 U.S.C. § 2253(c)(2). When the district court denies relief on the merits, a

        prisoner satisfies this standard by demonstrating that reasonable jurists could find the

        district court’s assessment of the constitutional claims debatable or wrong. See Buck v.

        Davis, 580 U.S. 100, 115-17 (2017). When the district court denies relief on procedural

        grounds, the prisoner must demonstrate both that the dispositive procedural ruling is

        debatable and that the motion states a debatable claim of the denial of a constitutional right.

        Gonzalez v. Thaler, 565 U.S. 134, 140-41 (2012) (citing Slack v. McDaniel, 529 U.S. 473,

        484 (2000)).

               We have independently reviewed the record and conclude that Adesioye has not

        made the requisite showing. Accordingly, we deny a certificate of appealability and

        dismiss the appeal. We dispense with oral argument because the facts and legal contentions

        are adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                         DISMISSED




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